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                       EXHIBIT "B"
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          EXPERT DECLARATION OF PROFESSOR TODD 2YWICIU

                                              1.


       My name is Todd Zywicki. I am the George Mason Foundation Professor of Law

at the Antonin Scalia Law School at George Mason University in Arlington, Virginia. I

have published academic papers on a range of subjects, including specifically laws

governing presidential elections and transitions.          See Todd Zywicki, The Law of

Presidential Transitions and the 2000 Election, 2001 BYU L. Rev. 1573 (2001),

available at https://digitalcommons.law.byu.edu/lawreview/vol2001/iss4/3/. 1                 On

December 4, 2000, while the Bush-Gore election dispute was ongoing, I was invited to

testify before Congress on the law governing presidential elections and transitions. 2 I

have also practiced law in the State of Georgia. My full curriculum vitae is attached

hereto as Exhibit A.

                                              2.

       I have been asked to render an expett opinion with respect to the reasonableness

and propriety of the casting of contingent presidential electoral votes when a judicial

contest to a Presidential election has been filed under the Georgia Election Code but has

not been decided as of the date that the Presidential Electors are required by the federal

Electoral Count Act ("EC.A") to meet and cast their votes. I have also been asked to



1 See also Michael T. Morley, Ascertaining the President-Elect Under the Presidential
Transition       Act,     74      STAN.      L.      REV.     May        2022), available      in
https: //www.stanfordlawreview.org/ online/ ascertaining-the-president-elect-under-the-
presidential-transition-act / (referring to my aiticle as "the most comprehensive analysis of the
issue" of the process to "asce1tain" the results of a presidential election).
2Testimony before United States House of Representatives, Committee on Government Reform,
Subcommittee on Government Management, Information, and Technology, on "Transitioning to
a New Administration: Can the Next President Be Ready?" (Dec. 4, 2000).


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render an expert opinion ,,vith respect to the reasonableness and propriety of actions

taken by the 2020 Republican nominees for Presidential Elector when confronted with

an unresolved judicial contest to a presidential election on the date that the Presidential

Electors were required to meet.

                                             3,

       The Georgia Election Code provides that the Georgia Presidential Electors be

elected in 1964 and every four years thereafter in the General Election, which is held the

first Tuesday after the first Monday in November. See O.C.G.A. § 21-2-10.

                                              4.
       The U.S. Constitution provides that "[t]he Congress may determine the time of

choosing the [presidential] electors, and the day on which they shall give their votes;

which day shall be the same throughout the United States." See U.S. CONST. art. II,§

1; U.S. CONST, Amendment 12.           The Electoral Count Act ("ECA"), in turn, requires

Presidential Electors to meet in their respective states on the first Monday after the

second Wednesday in December of each Presidential election year and cast their votes

for President and Vice President.s See 3 U.S.C. §§ 7-8.

                                              5.

       The date set by the ECA for the Presidential Electors to meet and vote was

presumably selected by Congress with the intent of allowing sufficient time for States to

count their votes in the Presidential election and then certify the appropriate slate of

Presidential Electors (i.e., the Presidential Electors for the party whose candidate

received the most votes for President).


3 In the 2020 presidential election, this date was December 14, 2020.



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                                               6.
      When election results have been certified but a judicial contest to that election is

still pending, Georgia law provides that contingent commissions may be issued to the

person who was apparently elected and that such person may take office. O.C.G.A. § 21-

2-503(a) (permitting the issuance of a commission to a person who appears to have

been elected to office "notwithstanding the fact that the election of such person to any

office may be contested in the manner provided by this chapter."); see also O.C.G.A. §

21-2-503(c) ("Upon the certification of the results of the election, a person elected to a

federal, state, or county office may be sworn into office notwithstanding that the election

of such person may be contested in the manner provided by this chapter.")

                                                7.
       That same Code section just as explicitly makes the validity of such a commission

contingent on the ultimate outcome of the judicial contest. Specifically, O.C.G.A. § 21-2-

503(a) provides that "[w]henever it shall appear, by the final judgment of the proper

tribunal having jurisdiction of a contested election, that the person to whom such

commission shall have been issued has not been elected legally to the office for which

he or she has been commissioned, then a commission shall be issued to the person who

shall appear to be elected legally to such office." (Emphasis added). The statute goes on

to state that "[t]he issuing of such commission shall nullify the commission already

issued." Id. (Emphasis added),4


4 Additionally, O.C.G.A.   § 21-2-503(c) further provides that "[u]pon the final judgment of the
proper tribunal having jurisdiction of a contested election which orders a second election or
declares that another person was legally elected to the office, the pel'son swam into such office
shall cease to hold the office and shall cease to exel'cise the powers, duties, and privileges of the
office immediately." (Emphasis added).


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                                                8.

      Upon the filing of an action contesting a Presidential election under the Georgia

Election Code, then, both the certified (but contested) Presidential Electors and the

uncertified (but contesting) Presidential Electors become contingent Presidential

Electors by operation oflaw. Where litigation is still pending and will not be resolved by

a "final judgment of the proper tribunal" by the time the Presidential Electors are

required to meet and vote by the ECA, the state faces a dilemma. If the state attempts to

short-circuit the election contest before final resolution of the claims in the case, it

would deny the candidates, the voters, and the public an opportunity to have disputes

regarding the election adjudicated, which is contrary to Georgia and federal law. If the

state certifies the contingent winner as the actual and final winner on or before the date

set forth in the ECA for presidential electors to cast their ballots it would deprive the

state of all of its electoral votes should the contesting candidate ultimately prevail in his

or her judicial contest, which is also contra1y to Georgia and federal law. In such

circumstances, and to avoid these unlawful and unintended consequences, both sets of

Presidential Electors could execute their respective ballots on the date required by

federal law, with the State ultimately certifying the election for whichever candidate

prevails in the judicial election contest.




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                                              9.
       When faced with this dilemma, the best and most prndent way to ensure that

Georgia has valid presidential electoral ballots for Congress to count would be for both

sets of contingent Presidential Electors to meet and cast their votes for President and

Vice President in the required format. Both sets should fulfill their duties and complete,

execute, and submit the required paperwork as prescribed by the Constitution and the

ECA as though the election contest had been adjudicated in each of their favor. Given

the disagreeable nature of the first two alternatives (either short-circuiting electoral

challenges or risking being unrepresented in the Presidential election), this option of

certifying contingent slates of electors offers a reasonable, proper and lawful solution to

the problem. Both sets of contingent Presidential Electors performing their duties as

though the unresolved judicial contest had been (or will be) adjudicated in their favor is

entirely consistent with both federal and Georgia law, and it is the only way to assure

that the State of Georgia would have valid presidential electoral votes available to be

counted by Congress regardless of the ultimate outcome of the judicial election

challenge. The lawfulness, reasonableness and propriety of this solution is supported by

state and federal laws and further evidenced by a review of historical precedent where

that solution has been offered.


s In addition to the Georgia law outlined herein, the ECA specifically anticipates that Congress
may, at times, receive two competing presidential electoral ballots from one state. The federal
statute is plain that there is nothing improper about the submission of 1:\vo slates and that the
decision of which of these 1:\vo competing slates is to be counted must be resolved solely by
Congress. See 3 U.S.C. § 15 ("If more than one return 01· paper pwporting to be a return from
a State shall have been received by the President of the Senate, those votes, and those only,
shall be connted which shall have been regularly given by the electors who are shown by the
determination mentioned in section 5 of this title to have been appointed, if the determination
in said section provided for shall have been made, or by such successors or substitutes, in case of

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                                                10.

       In several presidential elections throughout histo1y, including most recently in

the contested elections of 1960, 2000, and 2020, judicial challenges to the presidential

election had not been finally adjudicated either on or immediately prior to the date that

the ECA requires the Presidential Electors to cast their votes. In each of these elections,

the question has arisen as to the appropriate and lawful actions that must be taken to

preserve the ability of both presidential candidates and the state itself to have valid

presidential electoral votes available to be ultimately counted by Congress regardless of

the ultimate outcome of the vote count or judicial challenge. The clear (and historically

uncontroversial) legal answer in each of these circumstances is that both sets of the

Presidential Electors should meet, vote, and transmit ballots to Congress to preserve the

ability of that state to have valid electoral votes that can be counted by Congress.




                                                11.



a vacancy in the board of electors so asce1tained, as have been appointed to fill such vacancy in
the mode provided by the laws of the State; but in case there shall al'ise the question which of
two 01' mol'e of such State authol'ities determining what electol's have been appointed, as
mentioned in section 5 of this title, is the lawful tl'ibunal of such State, the votes regularly given
of those electors, and those only, of such State shall be counted whose title as electors the two
Houses, acting sepamtely, shall concul'rently decide is supported by the decision of such State
so authorized by its law; and in such case of more than one l'etum or papel' purporting to be a
1·etur11 from a State, if there shall have been 110 such determination of the question in the State
aforesaid, then those votes, and those only, shall be counted which the two Houses shall
concw'l'ently decide were cast by lawful electol's appointed in accordance with the laws of the
State, unless the two Houses, acting separately, shall concurrently decide such votes not to be
the lawful votes of the legally appointed electors of such State. But if the two Houses shall
disagl'ee in respect of the counting of such votes, then, and in that case, the votes of the electors
whose appointment shall have been certified by the executive of the State, under the seal
thereof, shall be counted.) (emphasis added).


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      In the 1960 presidential election, for example, Richard Nixon, the Republican

candidate, was initially certified by the State of Hawaii as having carried the state.

Supporters of John F. Kennedy, the Democrat presidential candidate, filed a legal action

contesting the election and charging voting irregularities in 198 of Hawaii's 240

precincts, including the claim that there were more votes counted in the presidential

election contest than were actually cast and that 1,283 ballots were unaccounted for in

the final tabulation.    That election contest was still pending and unresolved on

December 19, 1960, when the Presidential Electors were required by the ECA to meet

and cast their votes. Accordingly, both sets of Presidential Electors -- the ce1tified (but

contested)   Republican/Nixon      electors     and    the   unce1tified   (but   contesting)

Democratic/Kennedy electors -- met separately at the Hawaii state capitol building and

each cast their votes for their respective candidates in the same manner and form as

though their candidate had won the state.

                                              12.

       Ultimately, on December 30, 1960, John F. Kennedy prevailed in the judicial

contest, and the election was re-certified in his favor. On January 4, 1961, the Governor

of Hawaii transmitted a second Certificate of Ascertainment on behalf of the state

reporting that as a result of the lawsuit, the electoral votes of Hawaii were to be recorded

for Kennedy rather than Nixon. Because the Democratic Presidential Electors had cast

ballots back on December 19, 1960 in the precise form required by the Constitution and

the ECA, Congress was able to and did count the votes from Hawaii when it met on

January 6, 1961 to count the votes and certify the result. A copy of the paperwork

completed and executed by the Hawaii Democratic Presidential Electors on December



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19, 1960 and mailed to the Administrator of General Services of the United States of

America on December 20, 1960 is attached as Exhibit B. 6

                                            13.

      In the contested Presidential election of 2000, the concept of two contingent

elector slates specifically relying on the Hawaii precedent was actively promoted by

advocates for the Democratic presidential candidate, Al Gore, drawing support from

noted constitutional scholars. 7

                                            14.

       Democrat Congresswoman Patsy Mink of Hawaii publicly advocated for the

submission of two elector slates from Florida to Congress in the 2000 election as

follows:

       The [Hawaii] precedent of 40 years ago suggests the means for resolving
       the electoral dispute in Florida: .. .both slates of electors meet on
       December 18 and send their certificates to Congress; the Governor of
       Florida send a subsequent certificate of election based on ... the decision of
       the court; and Congress accepts the slate of electors named by the
       Governor in his final certification.

See Statement of Representative Patsy Mink, CONGRESSIONAL RECORD, December 13,

2000 (emphasis added), available at https://www.govinfo.gov/content/pkg/CRECB-

2ooo-pt18/html/CRECB-2ooo-pt18-Pg266o9-2.htm.



6 1\vo of the three Democratic Presidential Electors who executed the Hawaii electoral
documents, William Heen and Gilbett Metzger, were retired federal judges and noted
constitutional scholars.
7 The judicial challenges to the 2000 election in Florida were finally adjudicated before
December 18, 2020, the date the Presidential Electors were required by the ECA that year to
meet and vote, so two electoral ballots were not executed and submitted from Florida in that
election.


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                                           15.
      In anticipation of the likelihood of a close and contested presidential election in

2020, electoral college scholars openly and publicly advocated for both sets of

Presidential Electors to each cast their ballots for their respective candidates on the

date required by the ECA and submit both ballots to Congress in any state where the

vote count was not yet final or was subject to a pending, unresolved judicial contest.

Michael Rosin and Jason Harrow argued, for example, that Hawaii's approach to

dealing with the issue by having both sets of electors meet and case votes for their

candidate "should seme as a model for a close election this year or in any year."

Michael L. Rosin and Jason Harrow, How to Decide a Very Close Election/or

Presidential     Electors:    Part     2     (Oct.     23,    2020),     available     at

https://takecareblog.com/blog/how-to-decide-a-very-close-election-for-presidential-

electors-part-2 (emphasis added); see id. (stating "the way the recount was handled by

all involved [in the 1960 election in Hawaii] provides a model for how a very close

election should be determined"). Rosin and Harrow went on to note that when the

judicial contest eventually resulted in Kennedy being declared the winner, the state re-

issued its certification: "Fortunately, because both slates of electors had voted on the

proper day, there was still a chance to tell Congress which slate was actually appointed

by the voters." Id.

                                           16.
       Rosin and Harrow further explain that although the process "feels disorderly," "in

fact the dueling certificates, with the Governor later telling Congress who really won,

was an excellent way to navigate a system that, for no good reason, occasionally provides

too short a time to conduct a full recount in a ve1y close election." Id. The authors also

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point out that both sets of presidential electors executing contingent ballots in these

circumstances eliminates the risk that the state could lose its presidential electoral votes

altogether: "[I]f, by elector voting day, a result is still uncertain and no presidential

electors from a particular state cast votes, then Congress probably cannot count any

electoral votes from that state for that particular election .... That means if a state wants

to have its electoral votes counted, but which presidential electors were appointed by the

voters on election day remains uncertain .... there is only one possible solution: both

potentially-winning slates of electors should case elector votes on the day required

while the recount continues." Id. (emphasis added).

                                              17.
       Harrow and Rosin subsequently argue that the 1960 Hawaii precedent of casting

two sets of contingent electoral votes provides not only one reasonable solution to the

difficulty of squaring the ECA's purported deadlines with a fair and accurate vote

count, but actually provides the best solution to a difficult problem. 8 Even if one

disagrees with that considered judgment, it makes plain that the State of Hawaii was

not violating the law in 1960 by doing so, nor would subsequent sets of presidential

electors be doing so by following this precedent: Harrow and Rosin were obviously not

advocating for or urging some sort of criminal conspiracy in holding 1960 Hawaii up as

a model for future close elections.




8,Jason Harrow and Michael L. Rosin, How To Decide a Very Close Election for Presidential
Electors: Part 3, TAKECARE (Oct. 28, 2020), available in https:/ltakecareblog.com/blog/how-
to-decide-a-very-close-election-for-presidential-electors-part-3.


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                                           18.

       While the 2020 presidential election was in process, former CNN host Van

Jones, an attorney, and Professor Lany Lessing of Harvard Law School similarly

advocated that Presidential Electors should follow the Hawaii precedent if the election

was not finally decided in their state by the date the ECA required Presidential Electors

to meet and cast their votes. As they write, "Even though Richard Nixon said it should

not be a precedent, what he did in 1960 should be the model for this election in 2020."

Doing so would allow the state to take its time "to have an orderly and complete vote

count." In particular, they described the execution of both sets of presidential ballots a

"genius legal insight," noting that "the only way their votes could matter was if they

were cast on the day that Congress had set." See Van Jones and Larry Lessing,

"WHY      PENNSYLVANIA       SHOULD      TAKE       ITS   TIME      COUNTING      VOTES,"

https: l/www.cnn.com/2020 /11/04/opinions/pennsvlvania-talce-time-counting-

votes-opinion-iones-lessig/index.html (Nov. 4, 2020) (citing favorably to the 1960

Hawaii precedent and noting that "[t]he key - and this is the critical fact for 2020

as well - is that the Democratic slate had also met on December 19 and had also

cast their ballots in the manner specified by the Constitution. When they voted, no

one lcnew whether their votes would matter. But at least someone recognized that

the only way their votes could matte,• was if they were cast on the day that

Congress had set. History does not record who had that genius legal insight.")

(Emphasis added).




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                                                   19.

          The actions taken by both sets of Presidential Electors in Hawaii in 1960 that

have been lauded and advocated by elected officials and legal scholars in 2000 and 2020

are supported by and consistent with federal and Georgia law. Specifically, federal law

expressly anticipates and permits the submission of more than one slate of

Presidential Electors from a State, and the Constitution gives Congress exclusive

jurisdiction to adjudicate the validity of those competing slates within the

parameters set in the ECA and through their own internal procedures. See 3 U.S.C.A.

§ 15 and U.S. CONST. art. II, § 1.9                See also COUNTING ELECTORAL VOTES: AN

OVERVIEW OF PROCEDURES AT THE JOINT SESSION, INCLUDING OBJECTIONS BY

MEMBERS OF CONGRESS, Congressional Research Sen1ce at pp. 8-9 (explaining Congress'

9   That statute states, in pertinent part, as follows:
          If mol'e than one l'etum OI' papel' pw1Jol'ti11g to be a l'ehll'n fl'om a State shall
          have been received by the Pl'esidellt of the Senate, those votes, and those only,
          shall be counted which shall have been regularly given by the electors who are
          shown by the determination mentioned in section 5 of this title to have been
          appointed, if the determination in said section provided for shall have been made,
          or by such successors or substitutes, in case of a vacancy in the board of
          electors so ascertained, as have been appointed to fill such vacancy in the mode
          provided by the laws of the State; but in case there shall al'ise the questioll
          which of two OI' mol'e of such State authorities detel'minillg what electol's
          have been appoillted. as melltiolled ill section 5 of this title, is the lawful
          tribunal of such State, the votes l'egularly given of those electors, and those
          only, of such State shall be counted whose title as electors the hvo Houses,
          acting separately, shall co11c111·1·e11tly decide is suppo1·ted by the decision of siwh
          State so authorized by its law; and ill such case of more than Dile rehim or
          papel' pul'pol'ting to be a l'eturn from a State, if there shall have been 110 such
          detel'mination of the question in the State afol'esaid, then those votes, and those
          only, shall be counted which the two Houses shall conc111·1·e11tly decide wel'e cast
          by Lawful electol's appointed in accol'dance with the laws of the State, unless the
          two Houses, acting separately, shall concurrently decide such votes not to be the
          lawful votes of the legally appointed electors of such State. But ifthe two Houses
          shall disagl'ee in l'espect of the counting of such votes, then, and in that case, the
          votes of the electors whose appointment shall have been cel'tijied by the
          executive of the State, undel' the seal thel'eof shall be counted.
      3   U.S.C.A. § 15 (emphasis added).


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process to adjudicate between two sets of presidential elector ballots from the same

state), available at https: // crsreports.congress.gov /product/ details?prodcode= RL32717:

Todd Zywicki, The Law of Presidential Transitions and the 2000 Election, 2001 BYU L.

Rev. 1573, 1609 n. no (2001) ("Hawaii's situation in 1960 is also important in that it

provides the primaiy congressional precedent for congressional procedures for resolving

disputes   over   two   competing     Certificates      of Ascertainment."),   available   at

https://digitalcommons.law.byu.edu/lawreview/vol2001/iss4/3/.

                                            20.

       In 2020, Georgia was confronted with the identical dilemma as Hawaii in 1960,

except that in Georgia, the Democratic candidate for President had been certified as

having carried the state, and it was the Republican candidate who filed a legal action

contesting the election. That judicial contest was still pending on December 14, 2020

when the Presidential Electors were required by the ECA to meet and cast their votes.

Indeed, no hearing or other proceeding had even been had in that contest.

                                            21.

       Based upon the materials that I have reviewed, the contingent Georgia

Republican Presidential Electors received advice oflegal counsel to take the actions they

took on December 14, 2020, and they followed the Hawaii precedent precisely, using

materially identical forms and the same procedures as the contingent 1960 Hawaii

Democratic Presidential Electors. At the same time, the contingent Georgia Republican

Presidential Electors publicly announced that the votes they cast and related actions

they took were expressly contingent on the outcome of the pending election contest and

were cast only to protect and preserve the remedies for that contest and the ability of the



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State of Georgia to have a valid electoral ballot for Congress to count on .January 6, 2021

regardless of the ultimate outcome that contest.

                                           22.

       Legally, the Georgia Democratic Presidential Electors were also acting

contingently in casting their votes, as their status as Presidential Electors was directly

contingent on the outcome of the pending judicial contest to the election. Despite this

fact, the Georgia Democratic Presidential Electors made no similar announcement that

their votes and actions on December 14, 2020 were contingent on the outcome of the

election contest. They, however, have come under no criticism or scrutiny for having

not done so.

                                            23.

       Based upon the Hawaii precedent as well as federal and Georgia law, when

contingent Presidential Electors execute contingent electoral ballots under these

circumstances, they are not required to insert into those ballots any reference to the

pending election contest or that they are executing their ballots provisionally or

contingently. Indeed, the insertion of such additional or surplus language into the

Presidential Elector's ballots could render them subject to validity challenges. And by

operation of Georgia and federal law, their contingent nature is obvious on their face.

                                            24.
       Tellingly, the contingent 1960 Hawaii Democratic Electors included no such

reference in the certificates they executed. Instead, in their documents, they declared

themselves to be "duly and legally appointed and qualified" and "certified by the

Executive" even though they had not been so ce1tified as of the date the certificates were

executed. Additionally, they stated in those documents that "We hereby ce1tify that the

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lists of all the votes of the state of Hawaii given for President, and of all the votes given

for Vice President, are contained herein." See Exhibit B. AB noted, those ballots were

ultimately the ones that Congress officially counted as the official electoral votes of

Hawaii for the 1960 presidential election.

                                             25.

       Accordingly, the fact that the 2020 electoral ballots cast by the contingent

Georgia Republican Presidential Electors did not include any explicit reference to the

pending election challenge or the contingent nature of the ballots does not render them

false or invalid. Instead, these ballots, which were prepared by and in the specific form

advised by legal counsel, were in exactly the correct and necessa1y format for the

contingent Georgia Republican Electors to peiform their duties legally and validly as

prescribed by the Constitution, federal and Georgia law.

                                             26.

       AB noted, the 2020 Georgia Democratic Electors were also acting contingently

when they met and voted. The Democrats also (appropriately) did not include any

reference to the pending judicial election contest or the contingent nature of the ballots

they were executing in their documents. Instead, both sets of contingent Presidential

Electors by necessity completed and executed the requisite paperwork as prescribed by

law and as though they possessed uncontested ceitificates at that time of execution.

                                             27.

       Additionally, transmission of the contingent Republican electoral ballots to

Congress (and to the other entities required to receive them) at the time that they are

executed is pait of the legally required process under federal law to ensure that the

ballots are valid and available to be counted by Congress if the judicial contest changes

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the outcome of the election. In the 1960 Hawaii example, the contingent Democratic

Presidential Electors not only executed their ballots as provided by federal law, but they

also transmitted them to Congress and as otherwise required by federal law at the time

that they executed them. Failure to transmit the ballots as required by law would put

the validity of the electoral ballots at issue.

                                                  28.

       The fact that there was a recount ordered by the comt in the 1960 Hawaii election

is irrelevant and does not distinguish the 1960 Hawaii situation from the 2020

presidential election in Georgia in any legally material way. The legally relevant point is

that a judicial challenge was filed in Hawaii in 1960, that challenge was pending and

unresolved at the time federal law required the presidential electors to cast their ballots.

As a result, to preserve Hawaii's ability to have their electoral votes counted regardless

of the ultimate outcome of the judicial challenge, both sets of presidential electors

lawfully, prudently, and appropriately cast their ballots. In Hawaii, the comt took action

in response to that challenge, and the court ultimately entered judgment for the

challenger, John Kennedy, and declared him the winner of the election. One of the steps

to that result happened to be a recount, but that fact specific to the Hawaii situation has

no legal relevance to the 2020 election challenge in Georgia that was pending when the

electors were required to act on December 14, 2020. In Georgia, unlike in Hawaii (and

contra1y to Georgia law requiring a timely consideration), the court took no action on

the pending election challenge - it did not even schedule a timely hearing, much less

assess any of the evidence to determine what steps (such as a recount) may be necessary

to adjudicate the challenge. Georgia's court could have ordered a recount, assessed the

merits of the evidence submitted with the complaint in that case, or taken any number

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of other actions to adjudicate the matter, up to and including declaring Trump as the

actual winner of the Georgia election. The fact that the Hawaii court acted rapidly to

resolve the pending issues and the Georgia court dragged its feet bears no legal or logical

relevance as to the precedential value of the 1960 Hawaii election or to the propriety of

the actions taken by Georgia s presidential electors on December 14, 2020, the date

mandated by the ECA. And regardless, because the result of the litigation and any

subsequent remedy the court might order remained unresolved as of that date, neither

set of Georgia's 2020 presidential electors could have known on December 14, 2020

what actions the court would or would not take (including but not limited to ordering a

recount) in adjudicating the election challenge or what the ultimate outcome of that

challenge would be.

                                            29.

       In light of the 1960 Hawaii precedent and the ·widespread support from elected

officials and legal scholars that the execution and submission of both presidential

electoral ballots in a close election has received since then, reasonable attorneys could

not have predicted that a presidential elector in 2020 taking the same actions taken in

Hawaii in 1960 could or would be viewed anything but entirely proper; certainly they

could not have reasonably predicted that any law enforcement official would ever

suggest that any or all of these actions were criminal. Given the difficulties presented

under current laws, the actions taken by the state of Georgia were the best available

means for addressing extended electoral challenges that remain unresolved by the

relevant deadlines. Once the challenges are resolved, the appropriate response should be

for the State to disregard the losing slate of electors and certify the winning slate; there

is no basis to criminally prosecute those who acted to ensure the state's electoral votes

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would be counted in the event that known but unresolved election contests remain

pending as of the deadline. 10

                                              30.

       Based on my analysis of the historical record, particularly the example of the

1960 Hawaii election, it is my expert op11110n that the contingent Republican

Presidential Electors in Georgia in 2020 acted in a reasonable, proper, and lawful

manner. Moreover, it is my opinion, shared by a consensus of experts who have

considered the issue over the past several decades, that the casting of contingent

electoral votes is not only reasonable, proper and lawful, but the best approach available

to enable the resolution of election contests while preserving the ability of a state to have

its electoral votes counted by Congress should a judicial contest change the outcome of

the election. In conclusion, it is my opinion that the actions taken by the contingent

Georgia Republican Presidential Electors were lav,,ful, reasonable, proper, and

necessary, and any suggestion that they could be "criminal" ignores legal and historical

precedent, the reasoned advice of legal counsel received, and the plain language of the

Constitution, federal and Georgia law.




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  Although a full discussion of the constitutional implications of any State taking such action
against its Presidential Electors is beyond the scope of this declaration, it is worth noting that
the actions taken by the Republican presidential elector nominees in Georgia in 2020 enjoy
broad constitutional protection, regardless of the Hawaii precedent.


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Signed this da";,/ / ~1ly, 2023.




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